                           UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF TENNESSEE
                                NASHVILLE DIVISION


UNITED STATES OF AMERICA                       )
                                               )
v.                                             )          NO. 3:13-00097
                                               )          JUDGE SHARP
THOMAS ROBERTS [20]                            )


                                          ORDER

       Pending before the Court is Defendant’s Motion to Continue Sentencing Hearing (Docket

No. 705) and Sealed Motion (Docket No. 714).

       The motions are GRANTED and the sentencing hearing scheduled for November 7, 2014,

is hereby continued to Friday, December 12, 2014, at 2:30 p.m.

       It is so ORDERED.




                                           KEVIN H. SHARP
                                           UNITED STATES DISTRICT JUDGE




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